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 1 Scott Sagaria (State Bar No.217981)
   sjsagaria@sagarialaw.com
 2 Elliot Gale (State Bar No. 263326)
   egale@sagarialaw.com
 3 Joe Angelo (State Bar No. 268542)
   jangelo@sagarialaw.com
 4 SAGARIA LAW, P.C.
   3017 Douglas Blvd., Ste. 200
 5 Roseville, California 95661
   Telephone: (408) 279-2288
 6 Facsimile: (408) 279-2299

 7 Attorneys for Plaintiff
   Beau Knowles
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10                                 UNITED STATES DISTRICT COURT
11                EASTERN DISTRICT OF CALIFORNIA — SACRAMENTO DIVISION
12

13 BEAU KNOWLES,                                        Federal Case No.: 2:17-CV-02332-KJM-CKD

14                  Plaintiff,

15          vs.                                         PLAINTIFF’S NOTICE OF VOLUNTARY
                                                        DISMISSAL OF DEFENDANT
16 LENDMARK FINANCIAL SERVICES,                         LENDMARK FINANCIAL SERVICES
   LLC; et. al.,                                        PURSUANT TO FEDERAL RULE OF
17                                                      CIVIL PROCEDURE 41(A)(1)
                 Defendants.
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19

20
     PLEASE TAKE NOTICE that Plaintiff Beau Knowles, pursuant to Federal Rule of Civil
21
     Procedure 41(a)(1), hereby voluntarily dismisses Defendant Lendmark Financial Services as to all
22
     claims in this action, with prejudice.
23
            Federal Rule of Civil Procedure 41(a)(1) provides, in relevant part:
24
            41(a) Voluntary Dismissal
25
            (1) By the Plaintiff
26
                    (a) Without a Court Order. Subject to Rules 23(3), 23.1(c), 23.2, and 66 and any
27
                        applicable federal statute, the plaintiff may dismiss an action without a court
28

                                                       1
                       PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
     Case 2:17-cv-02332-KJM-CKD Document 19 Filed 03/06/18 Page 2 of 2


 1                     order by filing:

 2                       a notice of dismissal before the opposing party serves either an answer or a
                                 motion for summary judgment.
 3
            Defendant Lendmark Financial Services has neither answered Plaintiff’s Complaint, nor
 4
     filed a motion for summary judgment. Accordingly, the matter may be dismissed against it for all
 5
     purposes and without an Order of the Court.
 6

 7
     Dated: March 6, 2018                          Sagaria Law, P.C.
 8

 9                                            By:          /s/ Elliot W. Gale
                                                                    Elliot W. Gale
10                                            Attorneys for Plaintiff
11                                            Beau Knowles

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                      PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT
